                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                       ) Case No. 1:17-cr-23-3
                                                )
 v.                                             ) District Judge Curtis L. Collier
                                                )
 TERI WELBORN                                   ) Magistrate Judge Christopher H. Steger

                                            ORDER

         United States Magistrate Judge Christopher H. Steger filed a report and recommendation

 (Doc. 239) recommending that the Court: (1) grant Defendant’s motion to withdraw her not

 guilty plea to Count One of the thirteen-count Superseding Indictment; (2) accept Defendant’s

 guilty plea to Count One of the thirteen-count Superseding Indictment; (3) adjudicate Defendant

 guilty of conspiracy to distribute and possess with intent to distribute more than 500 grams of a

 mixture or substance containing a detectable amount of methamphetamine in violation of Title

 21, United States Code §§ 841(a)(1), 841(b)(1)(A) and 846; and (4) order that Defendant remain

 out of custody subject to the Order Setting Conditions of Release (Doc. 16) until further Order of

 this Court or sentencing in this matter. Neither party filed a timely objection to the report and

 recommendation. After reviewing the record, the Court agrees with Magistrate Judge Steger’s

 report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate

 judge’s report and recommendation (Doc. 239) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

 as follows:

      1. Defendant’s motion to withdraw her not guilty plea as to Count One of the thirteen-count

         Indictment is GRANTED;

      2. Defendant’s plea of guilty to Count One of the thirteen-count Indictment is

         ACCEPTED;




Case 1:17-cr-00023-TRM-CHS           Document 249       Filed 01/24/18      Page 1 of 2     PageID
                                           #: 1941
    3. Defendant is hereby ADJUDGED guilty of conspiracy to distribute and possess with

       intent to distribute more than 500 grams of a mixture or substance containing a detectable

       amount of methamphetamine in violation of Title 21, United States Code §§ 841(a)(1),

       841(b)(1)(A) and 846;

    4. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

    5. Defendant SHALL REMAIN out of custody subject to the Order Setting Conditions of

       Release (Doc. 16) until further Order of this Court or sentencing in this matter which is

       scheduled to take place on May 23, 2018, at 2:00 p.m. before the undersigned.

       SO ORDERED.

       ENTER:


                                                   /s/
                                                   CURTIS L. COLLIER
                                                   UNITED STATES DISTRICT JUDGE




                                            2
Case 1:17-cr-00023-TRM-CHS         Document 249        Filed 01/24/18     Page 2 of 2     PageID
                                         #: 1942
